Case No. 1:16-cr-00199-CMA          Document 1-1    filed 06/09/16        USDC Colorado        pg 1
                                            of 1




 DEFENDANT:           JOSE GERARDO VILLEGAS-TARIN

 YOB:                 1972

 ADDRESS (CITY/STATE): Commerce City, Colorado

 COMPLAINT FILED?                   YES         X   NO

        IF YES, PROVIDE MAGISTRATE CASE NUMBER:
        IF NO, PROCEED TO “OFFENSE” SECTION

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                                  YES        X       NO

 OFFENSE(S):          COUNT 1      26 U.S.C. ' 7206(2), Aiding/Assisting in the
                      Preparation and Presentation of False and Fraudulent Return

 LOCATION OF OFFENSE (COUNTY/STATE): Denver County, Colorado

 PENALTY:             NMT 3 years imprisonment, NMT $250,000 fine; NMT 3 years
                      supervised release; $100 Special Assessment

 AGENT:               Kenneth Valdez, Special Agent, IRS-CI

 AUTHORIZED BY: J. Chris Larson
                Assistant United States Attorney


 ESTIMATED TIME OF TRIAL:

    X     five days or less            over five days             other


 THE GOVERNMENT

        will seek detention in this case        X       will not seek detention in this case

 The statutory presumption of detention is not applicable to this defendant.

 OCDETF CASE:                 Yes          X   No
